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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


    NOVO NORDISK INC. and NOVO              Hon. Zahid N. Quraishi, U.S.D.J.
    NORDISK PHARMA, INC.,                   Hon. J. Brendan Day, U.S.M.J.

                Plaintiffs,
                                            Civil Action No. 23-20814 (ZNQ/JBD)
          v.

    XAVIER BECERRA, in his official         NOTICE OF APPEARANCE
    capacity as Secretary of the
    Department of Health and Human
    Services, et al.,

                Defendants.


  To:   MELISSA E. RHOADS
        United States District Court
        Mitchell H. Cohen Building & U.S. Courthouse
        4th & Cooper Streets
        Camden, NJ 08101

        The undersigned Assistant United States Attorney, Heather C. Costanzo,

  hereby enters a notice of appearance as an attorney for Defendants in the above-

  referenced matter.
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                                           Respectfully submitted,

                                           PHILIP R. SELLINGER
                                           United States Attorney

                                    By:    /s/ Heather C. Costanzo
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